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IN THE UNITED STATES DISTRICT COURT 051/0

 

FOR THE WESTERN DISTRICT OF TENNESSE]§§ G?`) )4” ` 00
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MICHAEL D. MOSBY, ) Ci;;%/`
Plaimiff, §
VS. § No. 02-1250-T
MICHAEL STRAIN, §
Defendant. §
ORDER OF CONTINUANCE

 

The jury trial in this case scheduled for June 15, 2005, is hereby continued A
criminal trial is scheduled the same day and must be heard because of the Speedy Trial Act.
The new trial date is December 5, 2005, at 9:30 a.m.

IT IS SO ORDERED.

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JA S D. TODD
UN E STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 118 in
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Honorable .1 ames Todd
US DISTRICT COURT

